This was a suit commenced by attachment. The defendant pleaded in abatement that both the plaintiffs and the defendant were nonresidents of this State, and were residents of another government, to wit, the plaintiffs of New York, and the defendant of Texas. To this plea the plaintiffs demurred. The court overruled the demurrer and dismissed the attachment, from which judgment the plaintiffs appealed.
The plaintiffs are citizens of New York, and the defendant is a citizen of Texas. In Broghill v. Wellborn, 15 N.C. 511, this Court said that a nonresident creditor cannot, under our attachment laws, attach the property of his debtor in this State when the latter has not absconded nor removed to avoid the ordinary process of the law. It is not necessary here to repeat the reasons of the decision in that case. The case is in point and supports the judgment rendered in the Superior Court, which must, therefore, be
PER CURIAM.                                                Affirmed.
Cited: McCready v. Kline, 28 N.C. 247.
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